

People v Polanco (2024 NY Slip Op 50417(U))



[*1]


People v Polanco (Alexis)


2024 NY Slip Op 50417(U)


Decided on April 15, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on April 15, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Perez, JJ.



570174/21

The People of the State of New York, Respondent,
againstAlexis Polanco, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Ashlee Crawford, J.), rendered May 18, 2021, convicting him, upon a plea of guilty, of driving while impaired by alcohol, and imposing sentence.




Per Curiam.
Judgment of conviction (Ashlee Crawford, J.), rendered May 18, 2021, affirmed. 
Since defendant waived the right to be prosecuted by information, the facial sufficiency of the accusatory instrument must be assessed under the standard required of a misdemeanor complaint (see People v Dumay, 23 NY3d 518, 522 [2014]). So viewed, the accusatory instrument was jurisdictionally valid because it described facts of an evidentiary nature establishing reasonable cause to believe that defendant was guilty of driving while impaired by alcohol (see Vehicle and Traffic Law § 1192[1]), and in particular, satisfied the operation element of the offense. The instrument recited that at 2:33 a.m., a police officer "heard a loud noise" and observed defendant standing in front of a vehicle with damage to its front driver's side; that a second damaged vehicle was next to defendant's vehicle; and that defendant stated "yeah, I lost control, we were arguing and I hit the car." These allegations were "sufficient to support the inference that defendant was the operator of the vehicle involved in the accident" (People v Esposito, 33 NY3d 1016, 1017 [2019]; see People v Dunster, 146 AD3d 1029, 1030 [2017], lv denied 29 NY3d 997 [2017]; People v Gomez, 73 Misc 3d 140[A], 2021 NY Slip Op 51183[U][App Term, 1st Dept 2021], lv denied 38 NY3d 927 [2022]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: April 15, 2024









